

People v Saulters (2018 NY Slip Op 03068)





People v Saulters


2018 NY Slip Op 03068


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018

PRESENT: SMITH, J.P., CARNI, LINDLEY, DEJOSEPH, AND WINSLOW, JJ. (Filed Apr. 27, 2018.) 


MOTION NO. (1472/04) KA 02-00850.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDAMION SAULTERS, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








